Case 1:05-cv-01112-.]DT-STA Document 12 Filed 08/10/05 Page 1 of 3 F’age||§)""?~~4 7

UNITED STATES DISTRICT COURT

 

WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION
Clara l\/Iartinez
Plaintiff,
v Civil Action NO: 05-11121`

Jo Anne B. Barnhart
Commissioner of
Social Security,
Defendant.
ORDER
Wherefore, for good cause shown and it appearing to the court that Plaintiff
requires extra time to prepare Plaintiff’s brief; because the Assistant United States Attomey
representing the government in this matter consents to the additional time requested; because the
technical record contains 873 pages; and because additional time is needed to adequately brief
this case,

It is, accordingly, ordered, adjudged, and decreed that Plaintiff is granted an

additional period of time, up to and including September 6, 2005 , to file a brief in support of her

Z).M

Dis ` tCourt Judge f_
/ 9 ‘:

appeal.

Thfs document entered on the docket e tln com llance
with ama ea and:or.re (a) FRcP on _§_£U_}_§§_

Case 1:05-cv-01112-.]DT-STA Document 12 Filed 08/10/05 Page 2 of 3 Page|D 8

Approved for ent

 

Jackson, 38303- ' 338
901-424-1305
TN BPR # 006600

Certificate of Service
I certify that l have mailed a true and exact copy fo the foregoing Proposed Order
to Joe Dycus, Assistant United States Attomey, 800 Federal Ofiic- Building, 167 North Main

 

   

UNIED` sATTES DITRICT oURT - WE…RISICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01112 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

Roger Stanfleld

LAW OFFICE OF ROGER STANFIELD
P.O. Box 3338

Jackson, TN 38303--333

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

